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8                              UNITED STATES DISTRICT COURT

9                           NORTHERN DISTRICT OF CALIFORNIA

10                                      SAN JOSE DIVISION

11

12   FEDERAL TRADE COMMISSION,                      Case No. 5:17-cv-00220-LHK
                    Plaintiff
13                                                  FEDERAL TRADE COMMISSION’S
                                                    OBJECTIONS TO MATERIALS FILED
14                 v.                               WITH QUALCOMM’S REPLY IN
                                                    SUPPORT OF ITS MOTION FOR STAY
15                                                  PENDING APPEAL

16   QUALCOMM INCORPORATED, a Delaware
     Corporation,
17                 Defendant.                       Courtroom:   8, 4th Floor
                                                    Judge:       Hon. Lucy H. Koh
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28                                                       FTC’S OBJECTIONS TO REPLY MATERIALS
                                                                    Case No. 17-cv-00220-LHK
             Case 5:17-cv-00220-LHK Document 1507 Filed 06/20/19 Page 2 of 3



1           Pursuant to Local Rule 7-3(d), the FTC objects to materials that Qualcomm filed with its
2    reply in support of its motion for a stay pending appeal and new arguments raised for the first
3    time on reply. Specifically, the FTC objects to Exhibits C, D, E, and F to the Declaration of M.
4    Brent Byars in Support of Qualcomm’s Reply. (ECF Nos. 1506-5, 1506-6, 1506-7, and 1506-8.)
5    The Court should disregard Exhibits C, D, and E because they are offered in support of an
6    argument raised for the first time in Qualcomm’s reply. See Reply, ECF No. 1506, at 8 (“The
7    irreparable harm is exacerbated by the prospect of inconsistencies between the Order and foreign
8    regulators.”). Qualcomm did not make this argument in its opening motion, and the argument
9    does not respond to any point advanced by the FTC or any amici. The Court should not consider
10   it. See Zamani v. Carnes, 491 F.3d 990, 997 (9th Cir.2007) (“The district court need not consider
11   arguments raised for the first time in a reply brief.”); Oak Point Partners, Inc. v. Lessing, No. 11-
12   CV-03328-LHK, 2012 WL 4121109, at *4 (N.D. Cal. Sept. 18, 2012) (Koh, J.) (same).
13   Moreover, these documents were not introduced at trial and are not part of the record in this case.
14          In addition, the Court should disregard and strike Exhibit F to the Byars Declaration as
15   unfair and prejudicial. See Tech. & Intellectual Prop. Strategies Grp. PC v. Insperity, Inc., No.
16   12-cv-3163 LHK, 2012 WL 6001098, at *14 n.6 (N.D. Cal. Nov. 29, 2012) (striking attachments
17   to reply brief). Exhibit F is Qualcomm’s opening statement slide presentation in In re Qualcomm
18   Litigation, No. 3:17-cv-0108-GPC-MDD (S.D. Cal.). Qualcomm’s reply brief cites to a single
19   slide that Qualcomm asserts is an excerpt from an internal Apple document. (Reply, ECF No.
20   1506, at 7 n.4.)1 Qualcomm did not introduce any such document at trial in this case. Had
21   Qualcomm sought to introduce a document with the content excerpted in the slide, the document
22   would have been the subject of high priority objection procedures mandated by the Court and
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       The excerpts cited in footnote 4 also do not respond to any new argument raised by the FTC or
25   amici. Indeed, the footnote quoting purported excerpts of an undated and unadmitted document
     does not even support the argument in the text of Qualcomm’s reply brief. Moreover, the
26   footnote improperly asserts that the cited document is an “internal Apple document listing
     strategies”—without any support for the proposition that the document lists Apple strategies and
27   without authentication of the document.

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                                                              FTC’S OBJECTIONS TO REPLY MATERIALS
                                                                              Case No. 17-cv-00220-LHK
             Case 5:17-cv-00220-LHK Document 1507 Filed 06/20/19 Page 3 of 3



1    testimony by an Apple witness. Had the document survived a high priority objection, an Apple
2    witness may have testified to, among other things, the document’s context and purpose and the
3    meaning of the cited language. Any such testimony would then have been part of the record on
4    appeal in this case. Qualcomm’s attempt to introduce excerpts from a document that it obtained
5    in pre-trial discovery via a post-trial stay reply circumvents procedures intended to test the
6    relevance and reliability of proffered evidence, and thus is unfair and prejudicial to the FTC.
7            Beyond this single slide, submission of Qualcomm’s Southern District slide presentation
8    as a whole is improper, unfair, and prejudicial. The slides contain excerpts from and counsel’s
9    summaries of other materials that Qualcomm had prior to trial and yet chose not to offer as
10   evidence in this case. The slides were not subject to the meet and confer and high-priority
11   objection procedures mandated by this Court before opening (and closing) slides were presented
12   in this case. As a non-party in the Southern District case, the FTC had no opportunity to confer
13   about, object to, or respond to the slides that Qualcomm now tries to insert into the record in this
14   case.
15           The FTC respectfully requests that the Court (i) disregard Exhibits C, D, E, and F to the
16   Byars Declaration and Qualcomm’s argument that the Court’s order is inconsistent with foreign
17   regulators’ requirements; and (ii) strike Exhibit F to the Byars Declaration.
18                                                     Respectfully submitted,
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20   Dated: June 20, 2019                                    /s/ Jennifer Milici
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21                                                         JOSEPH R. BAKER
                                                           GEOFFREY M. GREEN
22                                                         DANIEL MATHESON
                                                           MARK J. WOODWARD
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24                                                         Bureau of Competition

25                                                         Attorneys for Plaintiff Federal Trade
                                                           Commission
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                                                                FTC’S OBJECTIONS TO REPLY MATERIALS
                                                                                Case No. 17-cv-00220-LHK
